                     NOTICE: NOT FOR OFFICIAL PUBLICATION.
 UNDER ARIZONA RULE OF THE SUPREME COURT 111(c), THIS DECISION IS NOT PRECEDENTIAL
                 AND MAY BE CITED ONLY AS AUTHORIZED BY RULE.




                                    IN THE
             ARIZONA COURT OF APPEALS
                                DIVISION ONE


                       STATE OF ARIZONA, Appellee,

                                        v.

                   JOSHUA JAMES HOOVER, Appellant.

                             No. 1 CA-CR 23-0537
                               FILED 08-20-2024

           Appeal from the Superior Court in Maricopa County
                        No. CR2023-000017-001
               The Honorable Michael S. Mandell, Judge

                                  AFFIRMED


                                   COUNSEL

Maricopa County Legal Defender’s Office, Phoenix
By Cynthia D. Beck
Counsel for Appellant

Arizona Attorney General’s Office, Phoenix
By Phillip A. Tomas
Counsel for Appellee
                           STATE v. HOOVER
                           Decision of the Court


                      MEMORANDUM DECISION

Presiding Judge Brian Y. Furuya delivered the decision of the Court, in
which Judge James B. Morse Jr. and Judge David D. Weinzweig joined.


F U R U Y A, Judge:

¶1           Joshua James Hoover appeals his convictions for disorderly
conduct (count one) and assault (count two). Hoover argues the
prosecutor’s closing argument denied him a fair trial. For the following
reasons, we affirm.

                FACTS AND PROCEDURAL HISTORY

¶2             In January 2022, Hoover attempted to make a transaction at
the customer service desk of a Phoenix Walmart. When staff informed him
the store could not accept his I.D., he became agitated and an asset
protection officer, P.W., was called to assist. Hoover insisted the store
accept his I.D. As P.W. turned to leave, she felt “something wet” hit her and
turned to see Hoover had thrown a drink at her. She told Hoover to leave
the store, but he once again insisted the store accept his I.D.

¶3             Hoover left the service desk and began wandering the store
as P.W. called police. P.W. and another employee, A.V., followed Hoover.
Once they reached a dead end, Hoover turned around, allegedly holding
an unfolded knife. P.W. informed police that A.V. saw Hoover holding a
knife. P.W. and A.V. then followed Hoover back through the store to the
entrance. As Hoover neared the exit, he grabbed a drink can, turned, and
prepared to throw it at P.W. A.V. then tackled Hoover and restrained him
until police arrived.

¶4            Upon arrival, a police officer arrested Hoover and searched
him. The officer found a black and yellow folding knife in his jacket pocket.
The knife was in the “open position,” and A.V. confirmed the knife was the
same one Hoover brandished in the store. The officer asked A.V. to make a
copy of the surveillance footage, which he did, but police never retrieved
this recording.

¶5            At trial, the jury heard testimony from P.W., A.V., the
arresting officer, and a customer who witnessed the initial altercation
between Hoover and P.W. Hoover requested a Willits instruction based on
the State’s failure to produce the surveillance footage, which the court


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                           STATE v. HOOVER
                           Decision of the Court

granted. See State v. Willits, 96 Ariz. 184 (1964). In addition to the Willits
instruction, the court also instructed the jury not to consider attorney
statements as evidence and not to draw negative inferences from Hoover’s
decision not to testify.

¶6           The jury convicted Hoover of disorderly conduct (count one)
and assault (count two) and found the state proved three aggravating
circumstances. The court sentenced Hoover to 1.75 years’ imprisonment for
count one plus 30 days for count two.

¶7            We have jurisdiction over Hoover’s timely appeal under
Article 6, Section 9 of the Arizona Constitution and Arizona Revised
Statutes (“A.R.S.”) §§ 12-120.21(A)(1), 13-4031, and -4033(A)(1).

                               DISCUSSION

¶8            On appeal, Hoover asserts two statements made during the
State’s closing arguments constitute prosecutorial error.1 First, while
explaining why police never retrieved the copied surveillance footage, the
prosecutor stated “the Phoenix Police Department is down anywhere from
600 to a thousand officers. They already know they are not always able to
respond to scenes as fast as they should.” Hoover argues this statement was
prosecutorial vouching because it referenced evidence not in the record.
Second, Hoover argues the prosecutor improperly commented on his
decision not to testify when he told the jury that defense counsel could not
“give answers, because the only answers that fit all of the evidence are that
the defendant is guilty.”

¶9            Because Hoover did not object to either statement at trial, we
review only for fundamental error. State v. Murray, 250 Ariz. 543, 548 ¶ 14
(2021). The three-pronged fundamental error test requires (1) “determining
whether trial error exists,” (2) deciding “whether the error is fundamental,”
and (3) whether there was resulting prejudice to the defendant. Id. “Error is


1       In Arizona, “prosecutorial error” is differentiated from
“prosecutorial misconduct,” which implicates ethical dimensions. See State
v. Murray, 250 Ariz. at 548 ¶ 12 (explaining “courts should differentiate
between ‘error,’ which may not necessarily imply a concurrent ethical rules
violation, and ‘misconduct,’ which may suggest an ethical violation.”).
Hoover alleges misconduct, but the record does not establish any non-
speculative ethical violations or intentional violations of Hoover’s
constitutional rights. We therefore examine his argument as “prosecutorial
error.”


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                             STATE v. HOOVER
                             Decision of the Court

fundamental if it goes to the foundation of a case, takes away an essential
right, or is so egregious that a defendant could not have received a fair
trial.” Id. Proving prejudice requires the defendant show that if not for the
fundamental error, “a reasonable jury . . . could have reached a different
[verdict].” Id. (quoting State v. Escalante, 245 Ariz. 135, 144 ¶ 29 (2018).

I.    The Prosecutor’s Comment About the Phoenix Police’s Failure to
      Retrieve the Surveillance Video Did Not Prejudice Hoover.

¶10           Prosecutorial vouching occurs when the State references
additional evidence outside the record. State v. Johnson, 247 Ariz. 166, 204 ¶
157 (2019). True, the State’s comment called attention to the Phoenix Police
Department’s staffing difficulties and was not based on any admitted
evidence or any reasonable inference therefrom. In this sense, we agree the
prosecutor’s comment in that regard was error. But the error was neither
fundamental nor prejudicial.

¶11             First, the statement was made to explain why Phoenix Police
did not retrieve the surveillance footage and was not directly related to any
key fact or dispositive issue in the case. Thus, the prosecutor’s statement
did not go to the foundation of the case. See Escalante, 245 Ariz. at 141 ¶ 18
(“An error . . . goes to the ‘foundation of a case’ if it relieves the prosecution
of its burden to prove a crime’s elements, directly impacts a key factual
dispute, or deprives the defendant of constitutionally guaranteed
procedures.”). Second, immediately after the statement, the prosecutor
emphasized to the jury that they were instructed to consider only evidence
in the record. Third, the jury received a Willits instruction, permitting it to
draw an inference in Hoover’s favor regarding the missing footage. Fourth,
the jury was instructed not to consider the attorneys’ statements as
evidence. Presuming the jury followed the instructions given, State v.
Browning in &amp; for Cnty. of Pima, 256 Ariz. 511, 514 ¶ 8 (App. 2023), we
conclude the statement did not deny an essential right or a fair trial.

II.   The Prosecutor’s Rebuttal of the Defense’s Argument Did Not
      Improperly Comment on Defendant’s Choice to Not Testify and
      Did Not Prejudice Hoover.

¶12           “A prosecutor is prohibited by the Fifth Amendment, its
Arizona counterpart, Ariz. Const. art. 2, § 10, and A.R.S. § 13-117(B) from
directly or indirectly bringing to the jury’s attention that the defendant did
not testify.” State v. Thompson, 252 Ariz. 279, 299 ¶ 77 (2022).
“Prosecutors are given ‘wide latitude’” in fashioning their closing
arguments. Murray, 250 Ariz. at 549 ¶ 18 (quoting State v. Goudeau, 239 Ariz.



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                            Decision of the Court

421, 466 ¶ 196 (2016)). “Whether a prosecutor’s comment is improper
depends upon the context in which it was made and whether the jury
would naturally and necessarily perceive it to be a comment on the
defendant’s failure to testify.” State v. Acuna Valenzuela, 245 Ariz. 197, 221–
22 ¶ 104 (2018) (quoting State v. Rutledge, 205 Ariz. 7, 13 ¶ 33 (2003),
supplemented, 206 Ariz. 172 (2003)). We consider the entire record and the
totality of the circumstances in which the statement is made. State v. Lapan,
249 Ariz. 540, 549 ¶ 28 (App. 2020) (quoting Rutledge, 205 Ariz. at 13 ¶ 33).

¶13           Here, responding to Hoover’s argument that the absent
surveillance footage would have exonerated him, the prosecutor said:

       What the defense wants to show—to claim is a real possibility
       that the defendant is not guilty is in fact more evidence that
       leaves you firmly convinced of his guilt, because they can
       pitch the question, what about this? What about this? What
       about this? They can’t give answers, because the only answers
       that fit all of the evidence are that the defendant is guilty.

Citing State v. Ramos, 235 Ariz. 230 (App. 2014), Hoover asserts this
statement improperly directed the jury’s attention to his decision not to
testify because the only evidence the defense did not present was Hoover’s
own testimony. Not so.

¶14           The Ramos case is distinguishable and unavailing. During
closing argument in Ramos, a prosecutor said that the defendants were
“never gonna get on the stand,” and instead were going to “try to poke
holes in whatever evidence the State has.” Id. at 235 ¶ 12. Unlike in Ramos,
the prosecutor here did not state that Hoover was “never gonna get on the
stand,” or anything akin to that sentiment.

¶15             Examining the prosecutor’s statement in context, a jury would
not naturally and necessarily perceive it to be a comment on Hoover’s
failure to testify. See Acuna Valenzuela, 245 Ariz. at 221 ¶ 104. The prosecutor
made no reference to Hoover’s decision not to testify, nor does any fair
inference from the statement compel that perception. Rather, the statement
invites jurors to consider the totality of the evidence, submits that the
defense’s argument concerning the missing footage is inadequate in the face
of that evidence, and suggests the ultimate conclusion of Hoover’s guilt.
These are all permissible functions of a closing argument. See State v. Allen,
253 Ariz. 306, 338 ¶ 95 (2022) (in closing argument, prosecutors may
properly “summarize the evidence, make submittals to the jury, urge the
jury to draw reasonable inferences from the evidence, and suggest ultimate



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                          STATE v. HOOVER
                          Decision of the Court

conclusions.”). Thus, the statement is not improper, and we need not
address whether Hoover was prejudiced by it. See Freeport McMoRan Corp.
v. Langley Eden Farms, LLC, 228 Ariz. 474, 478 ¶ 15 (App. 2011) (“[W]e do
not issue advisory opinions or decide unnecessary issues.”).

                             CONCLUSION

¶16          For the foregoing reasons, we affirm.




                        AMY M. WOOD • Clerk of the Court
                        FILED: AGFV




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